Case 8:18-cv-00475-DOC-DFM Document 241 Filed 10/21/21 Page 1 of 3 Page ID #:6785



     1

     2

     3

     4

     5

     6                         UNITED STATES DISTRICT COURT
     7                        CENTRAL DISTRICT OF CALIFORNIA
     8

     9 C.L., an individual,                       )   Case No. CASE NO. 8:18-CV-00475-
    10                                            )          DOC (DFMX)
                            Plaintiff,            )
    11                                            )   FINAL JUDGMENT
    12         v.                                 )
                                                  )   Courtroom: 9D
    13 DEL AMO HOSPITAL, INC. a                   )   Judge: Hon. David O. Carter
    14 California corporation; and DOES 1-        )
         10, inclusive,                           )
    15                                            )
    16                      Defendants.           )
                                                  )
    17                                            )
    18                                            )
         ______________________________
    19

    20

    21         1.     On July 23, 2019, the Court called this case for trial. Plaintiff, C.L.,
    22 appeared in person and through her attorneys and announced ready for trial.

    23 Defendant, Del Amo Hospital, Inc. appeared in person via a representative and

    24 through its attorneys and announced ready for trial. Plaintiff's name was not

    25 disclosed for confidentiality purposes.

    26         2.     The right to a jury trial was waived because Plaintiff C.L. withdrew all
    27 claims for damages and proceeded against Defendant Del Amo Hospital Inc. solely

    28 for injunctive equitable relief and attorney’s fees.
                                                   1
                                             FINAL JUDGMENT
Case 8:18-cv-00475-DOC-DFM Document 241 Filed 10/21/21 Page 2 of 3 Page ID #:6786



     1        3.     The Court entered written findings of fact and conclusions of law after
     2 the trial of this matter wherein the Court concluded that Plaintiff had failed meet her

     3 burden to establish that her dog, Aspen, qualified as service dog under the

     4 Americans with Disabilities Act.

     5        4. Based on those findings of fact and conclusions of law, the Court ordered
     6 that Plaintiff, C.L. take nothing by her suit and that Defendant, Del Amo Hospital,

     7 Inc. recover its costs from Plaintiff.

     8        5.     The Court entered Final Judgment on September 9, 2019.
     9        6.     On September 11, 2019, Plaintiff appealed from the Court’s entry of
    10 final judgment and on March 30, 2021, the Ninth Circuit vacated and remanded.

    11        7.     Specifically, the Ninth Circuit instructed the Court to reconsider two
    12 issues on remand: whether Aspen was a qualified service dog at the time of trial,

    13 and if Aspen is a service dog, whether Del Amo Hospital has proved its affirmative

    14 defense of fundamental alteration.

    15        8.     On May 3, 2021, the Court held a status conference with the parties.
    16 On May 28, 2021, Defendant Del Amo Hospital and Plaintiff C.L. filed their briefs

    17 on the two issues on remand.

    18        9.     On June 3, 2021, an additional status conference was held. On July 1,
    19 2021, Defendant Del Amo Hospital and Plaintiff C.L. filed supplemental briefs on

    20 the two issues on remand.

    21        10.    After considering the parties’ arguments, the Court entered written
    22 findings of fact and conclusions of law on September 3, 2021.

    23        11.    Based on those findings of fact and conclusions of law, the Court held
    24 that Plaintiff has met her burden to show by a preponderance of the evidence that

    25 Plaintiff’s dog, Aspen, was a trained service dog at the time of trial in 2019.

    26        12.    Based on those findings of fact and conclusions of law, the Court
    27 further held Defendant Del Amo Hospital established its affirmative defense of

    28
                                                      2
                                                FINAL JUDGMENT
Case 8:18-cv-00475-DOC-DFM Document 241 Filed 10/21/21 Page 3 of 3 Page ID #:6787



     1 fundamental alteration and thus did not violate the Americans with Disabilities Act

     2 or the Unruh Civil Rights Act in relation to Plaintiff C.L.’s admissions to Del Amo

     3 Hospital’s inpatient psychiatric facility.

     4        13.    Based on those findings of fact and conclusions of law, the Court
     5 orders that Plaintiff, C.L. take nothing by her suit and that Defendant, Del Amo

     6 Hospital, Inc. recover its costs from Plaintiff.

     7        14.    The court orders execution to issue for this judgment.
     8        15.    The court denies all relief not granted in this judgment.
     9        16.    This is a FINAL JUDGMENT.
    10

    11 DATED: October 21, 2021

    12

    13
                                                    Honorable David O. Carter
    14                                              U.S.D.C., Central District of California
    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
                                                    3
                                             FINAL JUDGMENT
